
ROTHENBERG, Judge.
The defendant, Corey Mingo, appeals an order denying his motion to correct illegal sentence filed pursuant to Florida Rule of Criminal Procedure 3.800(a). The defendant argues that the Notice of Intent to Seek an Enhanced Penalty was a “shotgun” notice, and therefore, insufficient. The claimed notice deficiency, however, does not render the sentence “illegal” under Rule 3.800(a), and may only be raised in a motion for postconviction relief filed pursuant to Florida Rule of Criminal Procedure 3.850. See Zafora v. State, 900 So.2d 675 (Fla. 3d DCA 2005); Reese v. State, 899 So.2d 428 (Fla. 3d DCA 2005); Cooper v. State, 817 So.2d 934 (Fla. 3d DCA 2002). As the defendant’s conviction became final more than two years ago, he would, however, be proeedurally barred from raising this claim pursuant to Florida Rule of Criminal Procedure 3.850.
Affirmed.
